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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL BY THE OIL RIG            *             MDL NO. 2179
“DEEPWATER HORIZON” IN THE                 *
GULF OF MEXICO, ON APRIL 20, 2010          *             SECTION “J”
                                           *
THIS DOCUMENT RELATES TO:                  *
                                           *             JUDGE BARBIER
No. 2:13-cv-05804-CJB-SS; Elton Johnson v. *             MAG. JUDGE SHUSHAN
BP Exploration and Production, Inc, et al  *

**************************************************

     Plaintiff’s Memorandum in Support of Plaintiff’s Motion to Enforce
                      Settlement Agreement With BP

   The Court should enforce the written settlement agreement between BP and Johnson

because:

   1. The GCCF, acting on express authority granted to it by BP, made a written settlement
      offer on BP’s behalf. Johnson accepted the offer. A contract was formed. Even if
      BP did not somehow grant authority to the GCCF to settle claims brought against BP,
      BP subsequently ratified the contract when it repeatedly acknowledged that a
      settlement agreement existed and refused to exercise its right to appeal the settlement;

   2. The GCCF’s written settlement offer to Johnson provided reasonable certainty as to
      all material terms. It also provided explicit instructions on how to accept the offer.
      Johnson accepted the offer according to its terms. A contract was formed;

   3. BP’s attorneys repeatedly acknowledged that a valid settlement agreement existed.
      BP only generated its after-the-fact “no contract” arguments when Tidewater refused
      to indemnify BP;

   4. BP cannot avoid its contractual obligations by arguing that Johnson failed to sign the
      Release and Covenant Not to Sue since BP and the GCCF made it impossible for
      Johnson to perform this task by refusing to send the Release to Johnson. The doctrine
      of prevention excuses a party like Johnson from fulfilling a condition when his
      contractual counterparty prevents the condition from occurring. In short, BP cannot
      refuse to fulfill its contractual obligation to provide Johnson with a Release and
      Covenant Not to Sue and then cynically claim that “no payment is owed because
      Johnson has not yet signed the document we refuse to send him.”
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                                             I.

                                           Facts

       Plaintiff Elton Johnson served on the M/V Damon B. Bankston in close proximity to

the Deepwater Horizon.     When the Deepwater Horizon exploded, Johnson was in the

Bankston’s change room. The explosions were violent enough to “buckle” the ceiling in the

change room. Ex. 12 A (ex parte interview with Louis Langlois). After helping rescue the

Deepwater Horizon survivors and returning to shore, one of Johnson’s co-workers at

Tidewater noticed that Johnson complained about “headaches and appeared visibly

distressed.”   Ex. B (GCCF investigator’s summary of ex parte interview with Jeffrey

Malcom). The co-worker believed Johnson was “traumatized” by the incident. Id. Johnson

also filled out a Coast Guard form indicating that he was “shooken up” and it took him some

time to “come to my senses.” Ex. C (Coast Guard report). On April 26, 2010, Johnson

visited a family physician who diagnosed him with a right shoulder injury, a back injury, and

post-traumatic stress disorder (“PTSD”). Ex. D. He was referred to a psychiatrist who

confirmed the PTSD diagnosis on May 11, 2010. Ex. E. On June 23, 2010, an orthopedic

surgeon confirmed Johnson sustained a shoulder and back injury. Ex. F. The surgeon

eventually recommended a lumbar fusion surgery and arthroscopic shoulder surgery. Id. He

has been under regular treatment for his physical and mental injuries since the accident. As

his Jones Act employer, Tidewater has accepted its maintenance and cure obligation, paid his

medical bills, and never questioned the genuineness of his injuries.      Ex. G (Tidewater

maintenance and cure correspondence/payments).

       Against this background, Johnson filed a personal injury suit against BP and

Tidewater pursuant to the Jones Act and general maritime law. His case was then removed
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to this Court. In February 2011, Johnson began negotiating to settle his case with the

Feinberg Rozen, LLP and the GCCF (collectively referred to as the “GCCF”). The GCCF

was created by Feinberg Rozen, LLP “at the request of BP.” Ex. H (Recital Section). Its

mission was to “settle and authorize payments of certain Claims1 asserted against BP as a

result of the explosion at the Deepwater Horizon rig.” Id.; See also Ex. I at ¶ I(A) (“BP has

also authorized the GCCF to process certain non-OPA claims involving physical injury or

death.”). The contract between BP and the GCCF expressly provides that the GCCF “shall

perform . . . Claim Settlement and payment services, including settlement of Claims and

payments in settlement of Claims.” Ex. H at pg. A-1 (emphasis added).                                 BP clearly

authorized the GCCF to enter into settlement agreements on its behalf.

        The settlement negotiations with the GCCF were intense and lengthy. They lasted for

eight months. The negotiations were conducted in person, by e-mail, and over the telephone.

The parties reached an agreement on the settlement amount on September 19, 2011. Four

days later, the GCCF sent a formal written offer letter to Johnson. The letter makes a “Final

Payment Offer” of $2,698,095.00. Ex. J (offer letter) at pg.1, ¶ I. The offer letter also notes

that the settlement will require Johnson to “waive and release any claims for bodily injury

that you have or may have in the future against BP and all other potentially responsible

parties with regard to the [Deepwater Horizon Incident on April 20, 2010]2, and prevents you

from submitting any bodily injury claim seeking payment from a court.” Id. The letter then

explicitly informs Johnson how to accept the “Final Payment Offer”:

1
  The contract defines “Claim” as a “monetary demand or claim made by any Individual . . . against BP or its
Affiliates as relief for each alleged bodily injury or death . . .”). Ex. 1 at pg. 14. This definition obviously
encompasses Johnson’s personal injury claim.
2
  The offer letter actually uses the term “Oil Spill,” but defines “Oil Spill” as “the Deepwater Horizon Incident on
April 20, 2010.” Ex. J. Johnson inserted the actual definition of the term for clarity’s sake.

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        If you want to be paid the Final Payment Offer and fully resolve the entire
        claim now, you can accept the Final Payment Offer.
                                             ***
        To accept the Final Payment Offer, check the box on the Election Form
        indicating that you accept the Final Payment Offer, sign it and return it to the
        GCCF no later than 90 days after the date of this Letter.

Id. at pg. 2, ¶ II.3

        Johnson understood the terms of the offer and manifested his assent by complying

with its terms. Ex. K (acceptance form). The GCCF made a settlement offer pursuant to the

authority granted to it by BP. Johnson accepted it. A contract was formed.

        Even BP acknowledged that a settlement agreement existed. BP’s attorneys at

Kirkland & Ellis, LLP (the same firm that is now disavowing the contract) informed

Tidewater that “[t]he GCCF’s settlement with Mr. Johnson falls within the scope of the

indemnity agreement between the parties and BP reserves its right to seek indemnification

from Tidewater for all BP funds the GCCF pays to settle Mr. Johnson’s claim.” Ex. L

(correspondence from BP to Tidewater). BP also noted that “Elton Johnson has accepted the

[settlement] offer” and BP would be responsible for funding the settlement.                                 Ex. M

(correspondence from Tidewater to BP).                   BP further indicated that it approved of the

settlement by noting that “BP will not appeal the GCCF’s settlement with Mr. Johnson.”

Ex. L. Accordingly, BP demanded that Tidewater indemnify it. Ex. N (correspondence from

BP to Tidewater); Ex. L.

        Tidewater rejected BP’s indemnity demand.                     First, it claimed that it would not

indemnify BP because Tidewater was not allowed “to participate in the claims process.” Ex.


3
 The offer also provides a fourteen (14) day window for BP to object to the settlement offer. Ex. J at pg. 2,¶ II. BP
made the conscious decision to not object to the settlement offer. Ex. 12(g) (letter to Tidewater explaining that “BP
will not appeal the GCCF’s settlement with Mr. Johnson.”).

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M at pg. 1; See also pg. 2 (“In short, the settlement amount was offered and accepted before

Tidewater . . . [was] given notice of the proceedings or an opportunity to participate.”). As a

back-up reason for refusing to indemnify BP, Tidewater noted that its agreement with BP

does not require Tidewater to indemnify BP for “claims based on the gross negligence of

BP,” and the “settlement is so high because the GCCF has taken both gross negligence and

punitive damages into account.”        Id. at pg. 2.     Tidewater concluded its letter by

acknowledging that a settlement agreement existed, but reserved its right to challenge

whether the settlement “falls within the scope of the indemnity agreement.” Id.

       Tidewater further pleaded with BP to exercise its right to appeal the settlement offer.

Id. (“Tidewater again requests in the strongest terms that BP appeal the settlement.”). Had

BP done so, the settlement offer would not have been valid and no contract would have come

into existence. BP unequivocally refused to appeal. Ex. L (“BP will not appeal the GCCF’s

settlement with Mr. Johnson.”).      After BP repeatedly acknowledged that a settlement

agreement existed and informed Tidewater that it would not appeal the settlement, Tidewater

raised a new (third) argument in an attempt to get out of its indemnity obligations. It argued

that Johnson’s injuries were somehow “exaggerated.” BP and the GCCF were well-aware

of the facts underlying Tidewater’s allegations when the settlement offer was extended and

were well-aware of these facts when BP chose not to appeal the settlement offer. Still, BP

apparently determined that it was easier to back out of the repeatedly acknowledged

settlement with Johnson than it was to engage in an indemnity dispute with Tidewater. As a

result, the settlement was never funded and Johnson filed a breach of contract lawsuit in

Texas state court (where BP has its principal place of business).



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        Johnson filed his breach of contract lawsuit by intervening in a Deepwater Horizon

Jones Act personal injury suit that had been pending in Texas state court for over a year. BP

then removed the case to the Southern District of Texas where it was assigned to the

Honorable Lynn Hughes. Before the JPML could render a final decision on whether to

transfer the breach of contract case to MDL-2179, Judge Hughes ordered BP to file a motion

for summary judgment by June 1, 2012.4 This was just two months after the case was

removed and before any discovery, other than Rule 26 disclosures, could be undertaken.

After the issue was briefed, Judge Hughes granted summary judgment in favor of BP on

dubious grounds. Johnson then appealed to the Fifth Circuit. On appeal, BP largely

disavowed the grounds that the district court based its ruling on, but raised several new

arguments that the district court did not rely on. The Fifth Circuit vacated the summary

judgment and ordered that the case be transferred to this Court due to Your Honor’s “detailed

knowledge of all aspects of the BP litigation and settlement programs.” BP Exploration &

Prod., Inc. v. Johnson¸ 2013 WL 4018614 at *2 (5th Cir. Aug. 8, 2013).

        Now that the case is before this Court, Johnson respectfully requests that the Court

enforce the written settlement agreement and compel BP to deliver the settlement funds to

Johnson. A binding contract requires an offer, an acceptance, consideration on both sides,

and reasonable certainty as to the essential terms. Here, there was a clear written offer, titled

“Final Payment Offer,” with instructions for how to “accept” the offer. It specified the

essential terms of the deal: a promise to pay of a specific amount of money, in exchange for a

promise to release “claims for bodily injury that you have or may have in the future,” against

4
 The clerk of the JPML sua sponte determined that this case was not appropriate for inclusion in MDL-2179. BP
appealed this decision to the actual Panel. The court in the Southern District of Texas issued his ruling before the
JPML did.

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BP and “all other potentially responsible parties,” along with forbearance from “submitting

any bodily injury claim seeking payment from a court.” Ex. J. Johnson accepted the offer

exactly according to its instructions. Ex. K. This was a contract. Everyone at the time

(including BP and Tidewater) recognized this simple fact.

       BP attempted to escape liability on the grounds that Johnson, through no fault or

choice of his own, was denied his contractual right to sign the boilerplate Release. The

doctrine of prevention excuses Johnson from this obligation since the GCCF and BP made it

impossible for Johnson to perform this task. Further, signing the Release was not a condition

precedent for the formation of the contract. It was a condition under the contract. The

contract was formed when Johnson signed and accepted the “Final Payment Offer” according

to its terms. The exchange of promises in the contract included the following: the GCCF

promised to send a Release embodying the description in the Final Payment Offer; Johnson

promised to sign it; the GCCF promised to then pay $2,698,095 on behalf of BP. In

contracts with sequential obligations like this, each party’s performance is a condition

precedent for the subsequent obligations of the other. If a party commits a material breach

by reneging on its part, the other party is excused from subsequent obligations. Thus, if

Johnson had received the Release, but refused to sign it, BP would have had no payment

obligation, not because there was no contract, but because, under the contract, such a refusal

would be a material breach. But that is not what happened. Johnson stood—and stands—

ready, willing, and able to sign the release. The GCCF reneged on its contractual obligation

to send it to him, and BP still refuses to present it to him. Under the contract doctrine of

prevention, Johnson is therefore excused from the requirement to sign the release, his failure



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to do so does not constitute a breach, and the signature no longer constitutes a condition

precedent to receiving the agreed payment.

       BP also attempted to escape liability by arguing that the GCCF was an independent

contractor that BP cannot be held responsible for. But nothing in the GCCF’s relationship

with BP can gainsay the fact that the GCCF was a claims handling facility, “acting for and on

behalf of” BP. The GCCF may not have been BP’s agent in all things, but it had the

authority that matters here: to enter into settlement agreements that “shall be binding upon

BP.” Ex. O; Ex. H at pg. A-1. Nothing in any law or procedure affecting the GCCF gave the

GCCF or BP the right to back out of a duly-formed settlement contract with a third-party.

BP’s own lawyers recognized, affirmed, and ratified the GCCF’s “settlement with Johnson,”

and BP must be held to that settlement. The Court should grant this motion and enforce the

settlement agreement.

                                             II.

                        The Court Should Enforce the Settlement

       This Court recently explained the legal standards that govern this motion as follows:

       “Federal courts possess the inherent power to enforce agreements entered into
       in settlement of litigation pending before them.” Smith v. Ford Motor Co., No.
       98–2299, 1999 WL 649636, at *2 (E.D.La. Aug. 24, 1999) (citing Eastern
       Energy, Inc. v. Unico Oil & Gas, Inc., 861 F.2d 1379, 1380 (5th Cir.1988)).
                                             ***
       “Questions regarding the enforceability or validity of [settlement] agreements
       are determined by federal law—at least where the substantive rights and
       liabilities of the parties derive from federal law. Mid–South Towing Co. v.
       Har–Win, Inc., 733 F.2d 386, 389 (5th Cir.1984) (citing Fulgence v. J. Ray
       McDermott & Co., 662 F.2d 1207 (5th Cir.1981)). Because the claims before
       the Court are brought under general maritime law, the Court applies federal
       maritime law to interpret and enforce the settlement agreement.

       When interpreting a contract under general maritime law, the “court may not
       look beyond the written language of the document to determine the intent of
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       the parties unless the disputed contract provision is ambiguous.” Corbitt v.
       Diamond M. Drilling Co., 654 F.2d 329, 332–33 (5th Cir.1981) (citing Hicks
       v. Ocean Drilling and Exploration Co., 512 F.2d 817, 825 (5th Cir.1975)). The
       “basic principle of contract interpretation in [maritime] law is to interpret, to
       the extent possible, all the terms in a contract without rendering any of them
       meaningless or superfluous.” Chembulk Trading LLC v. Chemex Ltd., 393
       F.3d 550, 555 (5th Cir.2004) (citing Foster Wheeler Energy Corp. v. An Ning
       Jiang MV, 383 F.3d 349, 354 (5th Cir.2004)). Words in a contract are given
       their plain meaning as understood by a reasonable person. Sander v. Alexander
       Richardson Inv.'s, 334 F.3d 712, 716 (8th Cir.2003).

Magee v. ENSCO Offshore Co., 2013 WL 2389910 (E.D. La. May 30, 2013) (Barbier, J.).

A.     Johnson entered into a valid and enforceable contract with BP under which he is
       entitled to recover $2,698,095

       This is at its heart a simple case, based on simple contract principles. The GCCF sent

Johnson a written settlement offer, denoted as such, on behalf of BP. Ex. J. Johnson signed

and accepted the offer, and he has never breached the resulting contract. Ex. K. He is

entitled to collect the agreed payment. BP’s arguments to the contrary deny the reality of a

straightforward offer and acceptance, and penalize Johnson for an omission not by him, but

by the GCCF and BP. Johnson is entitled to recover in the settlement.

       1.     An offer was made

       A contractual offer is “a conditional promise dependent for its enforceability on the

offeree getting in exchange the offeror’s requested act, forbearance or return promise.” 1

WILLISTON ON CONTRACTS § 4:7 (4th Ed.). I will agree to do X if you agree to do Y. As

distinguished from negotiations, a contractual offer contemplates a firm bargain that will

become binding now, as opposed to further discussions that may culminate in a later

agreement. It requires “the offeror’s manifestation of willingness to enter into a proposed

bargain communicated in such a manner that the offeree may understand that by assenting

the bargain will be concluded.” Id.; accord RESTATEMENT (SECOND) OF CONTRACTS § 24
                                              9
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(1981) (“An offer is the manifestation of willingness to enter into a bargain, so made as to

justify another person in understanding that his assent to that bargain is invited and will

conclude it.”)

       The GCCF’s September 23, 2011 letter is an offer to conclude a bargain now. It

culminated months of negotiations, and the words “final” and “offer” appear repeatedly

throughout the document. Ex. J. By its own terms, it communicated a “Final Payment

Offer” of a definite amount of money, and stated “[i]f you want to be paid to the Final

Payment Offer and fully resolve the entire claim now, you can accept the Final Payment

Offer.” Id. The offer included instructions on how to “accept” immediately by checking a

box and signing a form included with the offer:

       If you want to be paid the Final Payment Offer and fully resolve the entire
       claim now, you can accept the Final Payment Offer. The Final Payment Offer
       is valid for 90 days. This Letter contains an Election Form with a box to
       accept the Final Payment Offer and a space for the required signatures. To
       accept the Final Payment Offer, check the box on the Election Form indicating
       that you accept the Final Payment Offer, sign it and return it to the GCCF no
       later than 90 days after the date of this Letter.

Id.

       All descriptions of what will happen after a party “accept[s]” the “offer” are

expressed in terms of what “will” happen under the agreement, and do not contemplate any

further negotiations:

       We then will send you a Release to be signed and returned to be paid the Final
       Payment Amount. The GCCF will mail or wire the Final Payment Amount as
       indicated on the Claim Form within 14 days after receipt of a complete and
       properly signed Release.




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Id. (emphasis added).5

        Only a potential appeal by BP (which did not happen) or a breach of the contract by

one of the parties could prevent the Release from being signed and payment of the agreed

amount. In short, consistent with its own nomenclature as an “offer” inviting the offeree to

“accept,” the letter to Johnson left no doubt that such acceptance would conclude the

bargaining and create a settlement agreement. Even the letter that the GCCF (sent months

after-the-fact) repudiating the contract acknowledged that a binding offer was made and the

offer was accepted:

        [T]he GCCF sent Mr. Johnson a determination letter on September 23, 2011
        offering him $2,698,096 to finally resolve his claim. In order to receive the
        offered Final Payment, Mr. Johnson was required to and did return an
        election to accept the offer. Thereafter, the GCCF would in the normal course
        have sent to Mr. Johnson a Release and Covenant not to Sue, which Mr. Johnson
        would have been required to sign in order to receive his Final Payment.

Ex. P (GCCF February 22, 2012 repudiation letter). Therefore, the September 23, 2011 letter

constitutes an “offer.”

        2.       Johnson accepted the offer according to its terms

        The Final Payment Election Form (Ex. K) demonstrates with equal clarity that

Johnson accepted the offer. A party accepts a contractual offer by assenting to the offer “in a

manner invited or required by the offer.” RESTATEMENT (SECOND) OF CONTRACTS § 50

(1981). Johnson did precisely what the offer letter told him to do in order “to accept the

Final Payment Offer.” See Ex. K. He checked the box (entitled “ELECTION TO ACCEPT

FINAL PAYMENT OFFER”), signed the form, and returned it on time:


5
 These descriptions of what will take place in the future describe the parties’ sequential contractual obligations
under the contract that was formed when Johnson accepted the offer by checking the box on the Election Form.

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Id.

           The post-settlement communications between BP’s counsel and Tidewater Marine’s

counsel confirm that a binding settlement agreement existed. BP’s counsel told Tidewater

Marine by letter that the GCCF had “offered to settle” Johnson’s claim6, by e-mail “that the

GCCF has agreed to pay Elton Johnson $2,698,095,”7 and by telephone that “Elton Johnson

has accepted the offer from the GCCF.”8 Tidewater Marine responded by asking BP to

exercise its right to appeal the settlement. Ex. M. BP wrote back, noting that “BP will not

appeal the GCCF’s settlement with Mr. Johnson.”            Ex. L (emphasis added).   BP and

Tidewater Marine had it right then. The GCCF offered a settlement, Johnson accepted it, and

a contract resulted. At the very least, a genuine issue of material fact existed.

           3.    The offer that Johnson accepted provided reasonable certainty regarding
                 all of the material terms of the settlement

           The offer and acceptance are valid if the offer letter describes the terms of the

contract with “reasonable certainty.”      RESTATEMENT (SECOND) OF CONTRACTS § 33(a)

(1981). The September 23, 2011 offer letter provided “reasonable certainty” as to the rights

Johnson was surrendering:

6
  Ex. N.
7
  Ex. M.
8
  Ex. M.

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         The Release waives and releases any claims for bodily injury that you have or
         may have in the future against BP and all other potentially responsible
         parties with regard to the [Deepwater Horizon Incident on April 20, 2010],
         and prevents you from submitting any bodily injury claim seeking
         payment from a court.

Ex. J (emphasis added).9

         There is no uncertainty here. This description of the Release’s terms explains that

Johnson must release every conceivable defendant/entity and forever put an end to his efforts

to recover money for his injuries. These are standard terms for settling personal injury

lawsuits, and the Release that was to follow would have merely been a boilerplate

memorialization of these standard terms. Moreover, Johnson clearly understood that these

were the terms of the contract when he accepted the offer:

         When I agreed to [settle my case], I understood that I was completely giving
         up any right I had to receive any more money from anyone as a result my
         injuries, the explosions, of the events that followed. I understood that I was
         giving up my right to sue anyone else as well.

Ex. Q (Johnson affidavit).

         Despite the broad language which notes that “[t]he Release waives and releases any

claims for bodily injury that you have or may have in the future against BP and all other

potentially responsible parties with regard to the [Deepwater Horizon Incident on April 20,

2010],” BP has argued that the settlement agreement was insufficiently definite as which

parties were to be released. Even if BP is correct that the “Final Payment Offer” was




9
 The offer letter also tells Johnson that he can only accept the Final Payment Offer if he wants to “fully resolve the
entire claim now.” Ex. J. In other words, Johnson “fully resolve[d] the entire claim” when he accepted the Final
Payment Offer. The boilerplate Release that was to follow was not necessary to accomplish this. It simply
memorialized the terms that the parties already agreed on.

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insufficiently definite as to who was being released (which Johnson disputes), this still would

not prevent contract formation. As one court noted:

       An agreement need not spell out all details of the bargain in order to be
       enforceable. Even if the parties have left some terms of their agreement
       indefinite, a court may enforce the agreement if it has means of giving content
       to the indefinite terms, or if those terms are not material to the bargain.

U.S. v. Bedford Associates, 657 F.2d 1300, 1310 (2d Cir. 1981) (citations omitted)) See also

Forte Sports, Inc. v. Toy Airplane Gliders of America, Inc., 371 F.Supp.2d 648, 649 (E.D.

Pa. 2004) (“It is well established that a contract comes into being once the parties have

reached a meeting of the minds on the essential terms and have manifested the intent to be

bound by those terms. Once this has occurred, the existence of gaps in the agreement will

not vitiate it.”) (internal citations omitted). This is true even when the contract is indefinite

as to an essential term. RESTATEMENT (SECOND) OF CONTRACTS § 204 (1981) (“When the

parties to a bargain sufficiently defined to be a contract have not agreed with respect to a

term which is essential to a determination of their rights and duties, a term which is

reasonable in the circumstances is supplied by the court.”).

       BP has also incorrectly argued that the agreement does not provide reasonable

certainty regarding what claims Johnson was releasing because the offer letter uses the term

“bodily injury,” but does not define what a “bodily injury” is. The GCCF’s standard Release

defines “bodily injury” in a standard manner that includes “without limitation mental health

injury and including any alleged economic loss in connection with bodily injury or mental

health injury” – i.e. mental anguish and loss of earning capacity.      Ex. R. The offer letter

uses the term in the same way that the Release does.




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         “Bodily injury” refers to all the damages that Johnson sustained as a result of the

personal injury he is sued over. It is nonsensical to suggest that the GCCF’s offer letter was

only offering to settle the portion of Johnson’s claim that seeks recovery for physical pain,

but was leaving open the portion of his claim that seeks recovery for mental anguish and lost

wages. That is why the offer letter explicitly states that Johnson can only accept the Final

Payment Offer if he wants to “fully resolve the entire claim now.” Ex. J (emphasis added).

         That is how Johnson understood the offer letter. Ex. Q. It is also how a reasonable

observer would view the offer as well. Indeed, BP’s lawyers did not believe the offer was

too indefinite considering they repeatedly acknowledged that an agreement existed. Ex. L;

Ex. M; Ex. N.10 Therefore, the Court should enforce the agreement.

         4.      Consideration existed

         BP has also argued that consideration was lacking based on the erroneous belief that

Johnson only promised to release his claims, but never promised to sign the actual Release

documents.         Valid consideration is “any performance which is bargained for.”

RESTATEMENT (SECOND) OF CONTRACTS § 72 (1981). A promise to waive and release one’s

claims is viable consideration. Johnson did not have to explicitly state “I promise to sign the

Release.” That promise can be inferred. RESTATEMENT (SECOND) OF CONTRACTS § 4 (1981)

(“A promise . . . be inferred wholly or partly from conduct.”).

         The parties had been negotiating for months. Finally, on September 23, 2011, the

GCCF sent its offer letter. The letter made a “Final Payment Offer” of $2,698,095. Ex. J. It

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   Even if BP’s interpretation of the agreement were correct, this would only mean that the parties settled Johnson’s
claims for physical injuries for $2,698,095, but decided to leave open his claims for psychological injuries. Johnson
believes the obvious interpretation of the settlement language covered all his claims. But, if BP is correct, this
would not void the contract. Johnson would still entitled to the settlement funds under BP’s interpretation. He
would simply still able to pursue his claims for psychological injuries.

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made clear that, in order for Johnson to receive the money, he must “sign a Release and

Covenant Not to Sue.” Id.; Ex. P (“Mr. Johnson was required to and did return an election to

accept the offer. Thereafter, the GCCF would in the normal course have sent Mr. Johnson a

Release and Covenant Not to Sue, which Mr. Johnson would been required to sign in order to

receive his Final Payment.”). The letter went on to describe the contents of the Release that

Johnson would have to sign. Importantly, if Johnson “want[s] to be paid the and fully

resolve the entire claim now,” he must accept the Final Payment offer by “check[ing] the box

on the Election Form indicating that you accept the Final Payment Offer, sign it and return it

to the GCCF.” Ex. J. The Election Form that Johnson signed stated “I elect to paid the Final

Payment Offer [i.e. $2,698,095] described in my Determination Letter.”                             Ex. K.       The

Election Form then informed Johnson that “[t]he GCCF will send you a Release and

Covenant Not to Sue that you must sign and return to be paid.” Id.

         The clear inference is that Johnson was promising to sign the Release when he

accepted the offer. He wanted to be paid the Final Payment Offer of $2,698,095 and put an

end to his lawsuit. The offer letter clearly states that he will not receive the money until he

signs the Release.11 Given the context, when Johnson accepted the offer, he was promising

to sign the Release that the GCCF promised to promptly send.

         Moreover, once Johnson agreed to the Final Payment Offer, he was contractually

obligated to sign the Release (once the GCCF sent it to him) since an agreement had already

been formed.12 He was not free to sign or not sign at his whim and sole discretion. Signing

11
  Johnson’s failure to sign the Release is excused under the doctrine of prevention. Consequently, the money is
due.
12
   In contracts with sequential obligations like this, each party’s performance is a condition precedent for the
subsequent obligations of the other. If a party commits a material breach by reneging on its part, the other party is

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the Release was “performance which was bargained for.” If Johnson refused to sign, he

would be breaching this part of the contract. BP could enforce the contract by: (1) seeking to

enforce the settlement; (2) refusing to fund the settlement; (3) seeking to dismiss the

underlying personal injury case based on the defense of “accord and satisfaction”; or (4)

seeking specific performance requiring him to sign. Indeed, courts (including this Court)

regularly enforce settlement agreements in circumstances like this. Garrett v. Delta Queen

Steamboat Co., Inc., 2007 WL 83177 at *1 (E.D. La. Mar. 14, 2007) (Barbier, J.) (ordering

specific performance requiring seaman to sign Release and enforcing settlement agreement);

In re Amway Corp., 579 F.2d 907, 909 (5th Cir. 1978) (enforcing settlement agreement when

seaman refused to sign Release); Strange, 495 F.2d at 1236-37 (enforcing settlement

agreement when longshoreman refused to sign Release); In re Gibson, 2009 WL 3241641 at

*4 (E.D. Okla. Sept. 25, 2009) (ordering specific performance requiring maritime plaintiffs

to sign Release and enforcing settlement); Latham v. QCI Corp., 2009 WL 483208 at *1

(S.D. Tex. Feb. 25, 2009) (enforcing settlement agreement when plaintiff refused to sign

Release); Mobley v. Montco, Inc., 2004 WL 307478 at *2 (E.D. La. Feb. 17, 2004)

(enforcing settlement agreement when seaman refused to sign Release); See also Aycock v.

Noble Corp.¸ 2006 WL 2521211 at *2 (S.D. Tex. Aug. 30, 2006) (enforcing settlement

agreement in Jones Act case when defendant refused to tender funds and Release because

“[a]n oral agreement in this case existed as soon as Plaintiff accepted Defendant’s offer of

settlement. That offer could not be withdrawn once accepted.”).


excused from subsequent obligations. Thus, if Johnson had received but refused to sign the release, BP would have
had no payment obligation, not because there was no contract, but because, under the contract, such a refusal would
be a material breach. But that is not what happened. Johnson stood—and stands—ready, willing, and able to sign
the release. The GCCF reneged on its contractual obligation to send it to him, and BP still refuses to present it to
him.

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         The contract does not lack for consideration.           The Court should enforce the

settlement agreement and compel BP to pay the settlement funds.

       5.      The doctrine of prevention prohibits BP from avoiding its contractual
               obligations because BP refused to send a copy of the Release to Johnson to
               sign

       BP’s fallback argument has been that a contract exists, but BP has no obligation to

fund the settlement because Johnson never signed the Release and signing the Release was a

condition precedent to payment (as opposed to a condition precedent to contract formation).

However, the condition here (i.e. signing the Release) has only gone unfilled because BP and

the GCCF failed to fulfill their contractual obligation to send the Release to Johnson. Ex. J

at pg. 2, ¶ II (“We will then send you a Release to be signed . . .”); Ex. K (“The GCCF will

send you’re a Release and Covenant Not to Sue . . .”); Ex. P (“Thereafter, the GCCF would

in the normal course have sent Mr. Johnson a Release and Covenant Not to Sue . . .”). When

a condition does not occur because a contractual counterparty prevents it from occurring, its

non-occurrence is excused under the doctrine of prevention. Ballard v. El Dorado Tire Co.,

512 F.2d 901, 907-08 (5th Cir. 1975); Clear Lake City Water Auth. v. Friendswood Dev.Co.

Ltd., 344 S.W.3d 514, 520 (Tex.App.—Houston [14th Dist.] 2011, pet. denied) (“a party who

‘prevents or makes impossible’ the occurrence of a condition precedent upon which liability

under a contract depends cannot rely on the nonoccurrence to escape liability.”); 13

WILLISTON ON CONTRACTS § 39:4 (4th ed.) (“If a promisor prevents or hinders the

occurrence or fulfillment of a condition to his or her duty of performance, the condition is

excused . . . [and] [t]he liability of the promisor is fixed regardless of the failure to fulfill the

condition.”); RESTATEMENT (SECOND) OF CONTRACTS (1981) § 245 (“Where a party’s


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breach by non-performance contributes materially to the non-occurrence of a condition of

one of his duties, the non-occurrence is excused.”).13 “The reason for this result is that the

law implies a promise not to frustrate occurrence of an explicit promise. One who promises

to do a thing if a given condition occurs has impliedly promised not to prevent the

performance of the condition.” Ballard, 512 F.2d at 907 n.4.

         Johnson cannot sign the Release until the GCCF (or BP) fulfills its obligation to send

the Release to Johnson. The GCCF promised to do this without qualification unless BP

appealed (which it did not).14 Ex. J at pg. 2, ¶ II; Ex. K. Because the failure to sign the

Release was caused by the GCCF’s refusal to comply with its obligation to send the Release

(and BP’s ongoing refusal to send the Release), the failure to sign the Release is excused and

Johnson is entitled to recover as if it had been fulfilled. Ballard, 512 F.2d at 907-08; Clear

Lake City Water Auth., 344 S.W.3d at 520.

         Recognizing that its argument is barred by the prevention doctrine, BP has also

argued that the GCCF did not fail to fulfill its obligation to send the Release because the

offer letter “says nothing about the timeline on which the GCCF would furnish a release.” In

other words, BP or the GCCF could send the release two years from now and still be in

compliance with the contract. This argument lacks any merit. When maritime contracts do

not contain explicit deadlines, the law implies a requirement that performance be completed

in a “reasonable” time period. Matter of Rio Grande Transport, Inc., 770 F.2d 262, 264 (2d

Cir. 1985) (“Since neither settlement agreement provided for payment within a specific time,


13
   The same rule applies if the Court determines that the GCCF or BP “repudiated” the contract instead of merely
prevented Johnson from performing the condition. RESTATEMENT (SECOND) OF CONTRACTS (1981) § 255 (“Where a
party’s repudiation contributes materially to the non-occurrence of a condition of one of his duties, the non-
occurrence is excused.”).
14
   The failure to send the Release is another way in which BP breached the contract.

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the law implies a requirement to pay within a reasonable time.”). The agreement was formed

more than 2 years ago. A “reasonable time” has passed. The Court should reject BP’s

argument and find that the condition precedent to payment under the contract (i.e. Johnson’s

signature on the Release) is excused under the doctrine of prevention.

        6.     The GCCF had authority to enter into binding settlement agreements on
               behalf of BP

        “To create an agency relationship based on actual authority, such authority must have

been delegated to the agent either by words that expressly or directly authorize him to do a

delegable act, or such authority may be implied from the facts and circumstances attending

the transaction in question.” In re Tasch, Inc., 46 Fed. Appx. 731 at *4 (5th Cir. 2002);

RESTATEMENT (THIRD) AGENCY § 1.02 (2006) (“An agent acts with actual authority when . .

. the agent reasonably believes, in accordance with the principal’s manifestations to the

agent, that the principal wishes the agent to so act.”). A claims representative for a corporate

defendant who has handled a case for a significant period of time is presumed to have

authority to settle that case. See Cia Anon Venezolana De Navegacion v. Harris, 374 F.2d

33, 35-36 (5th Cir. 1967). Last, a party cannot prevent an agency relationship from arising

simply by including “independent contractor” language in a contract. In re McClure, 430

B.R. 358, 366 (Bkrtcy. N.D. Tex. 2010); RESTATEMENT (THIRD) AGENCY § 1.02 (2006)

(“Whether a relationship is characterized as agency in an agreement between parties . . . is

not controlling.”); See also Melancon v. Amoco Production Co., 834 F.2d 1238, 1245 (5th

Cir. 1988) (“[P]arties to a contract cannot automatically prevent a legal status like ‘borrowed

employee’ from arising merely by saying in a provision in their contract that it cannot

arise.”).


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         Here, BP expressly delegated authority to the GCCF to settle and pay claims made

against BP. The GCCF was created “at the request of BP.” Ex. H (Recital Section). Its

mission was to “settle and authorize payments of certain Claims asserted against BP as a

result of the explosion at the Deepwater Horizon rig.” Id.; Ex. I at ¶ I(A) (“BP has also

authorized the GCCF to process certain non-OPA claims involving physical injury or

death.”). Specifically, in exchange for $1,250,000/month, the GCCF “shall perform . . .

Claim Settlement and payment services, including settlement of Claims and payments in

settlement of Claims.” Ex. H at pg. 18 (emphasis added). According to the contract’s

“Definitions” section, a “Claim” is a “monetary demand or claim made by any Individual . . .

against BP or its Affiliates as relief for each alleged bodily injury or death . . .”). Id. at pg.

14.

         Johnson’s personal injury claim against BP is obviously a “Claim” under the BP-

GCCF contract. BP authorized the GCCF to settle cases like Johnson’s on BP’s behalf.15

The GCCF had actual authority to bind BP in this case. In this case, BP’s engaged the GCCF

to “settle Claims and make payments in settlement of Claims” brought against BP. Ex. H at

pg. 18. BP is bound by the GCCF’s actions in settling Johnson’s case.

         7.       Even if the GCCF did not have actual authority to settle Johnson’s case,
                  BP ratified the settlement

         Even if the GCCF did not have actual authority to settle cases on BP’s behalf, the

settlement agreement would still be enforceable since BP ratified it. “A person ratifies an act

by (a) manifesting assent that the act shall affect the person’s legal relations; or (b) conduct

that justifies a reasonable assumption that the person so consents.” RESTATEMENT (THIRD)

15
  The GCCF clearly thought so as well since the first paragraph of the offer letter states that “[t]he GCCF . . . act[s]
for and on behalf of [BP].” See Ex. J.

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AGENCY § 4.01 (2006). “To be effective as a ratification, the principal’s assent need not be

communicated to the agent or to the third parties whose legal relations will be affected by the

ratification.” RESTATEMENT (THIRD) AGENCY § 4.01 (2006), cmt. b; See also cmt. d (“To

constitute ratification, the consent need not be communicated to the third party or the

agent.”). Here, BP manifested assent that the GCCF’s contract offer would affect BP’s legal

relations. BP’s conduct also justified a reasonable assumption that it consented to the

settlement.

       BP informed Tidewater Marine that “Elton Johnson has accepted the [settlement]

offer” and BP would be responsible for funding the settlement. Ex. M. As a result, BP

demanded that Tidewater Marine indemnify it. Ex. N; Ex. L. Tidewater Marine responded

by “request[ing] in the strongest terms that BP appeal the settlement.” Ex. M. Had BP

appealed, the GCCF’s offer would have been void and no contract could have been formed.

Ex. J. But BP refused to appeal and, instead, chose to allow the settlement to go through.

Ex. L (“BP will not appeal the GCCF’s settlement with Mr. Johnson.”). BP then reiterated

its demand that Tidewater Marine indemnify BP. Ex. L.

       BP’s refusal to appeal the GCCF’s settlement offer, taken in conjunction with its

multiple indemnity demands, clearly “manifests assent that [the GCCF’s contract] shall

affect [BP’s] legal relations [with Johnson and Tidewater Marine].”          BP’s conduct in

refusing Tidewater Marine’s request to appeal the settlement also justified a reasonable

assumption that BP consented to the settlement. BP ratified the contract and is responsible

for the GCCF’s conduct. The Court should enforce the settlement agreement.




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       7.      BP’s “fraud” allegations are baseless and are meant to distract the Court
               from the weakness of its claims on the merits

       BP has also argued that it was fraudulently induced into entering the settlement

agreement because Johnson supposedly exaggerated the extent of his injuries. To be clear,

there was no fraud here and BP is only raising this issue to distract the Court from the fact

that it is trying to back out of a written contract that its attorneys repeatedly acknowledged

existed. In fact, when Johnson sued BP for breach of contract in Texas state court, BP did

not even plead “fraud” as an affirmative defense.        Ex. S (BP’s state court Answer).

Moreover, the “facts” that form the basis of BP’s after-the fact “fraudulent inducement”

argument were well known to BP and the GCCF before they extended the settlement offer to

Johnson. Tidewater Marine then raised this argument with BP again and urged BP to

exercise its right to appeal the settlement to prevent a contract from being formed. BP

determined the allegations were baseless and told Tidewater Marine that “BP will not appeal

the GCCF’s settlement with Mr. Johnson.” Ex. L. It is difficult to understand how a party

can be fraudulently induced to enter a contract when it has full awareness of the fraud

allegations before entering into the agreement. Regardless, out of an abundance of caution,

though, Johnson will lay out the relevant facts so the Court can see how flimsy BP’s “fraud”

allegations really are.

       Johnson was in the Bankston’s change room at the time of the explosions. The

explosions damaged the structural integrity of the change room’s ceiling. Ex A. Johnson

was knocked up against a wall and was dazed. Ex. D; Ex. E. After he regained his

composure, he assisted in the rescue of the Deepwater Horizon survivors. The Bankston then

returned to shore.        One of Johnson’s co-workers at Tidewater noticed that Johnson


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complained about “headaches and appeared visibly distressed.” Ex. B. The co-worker

believed Johnson was “traumatized” by the incident. Id. Johnson also filled out a Coast

Guard form indicating that he was “shooken up” and it took him some time to “come to my

senses.” Ex. C. On April 26, 2010, Johnson visited his family physician who diagnosed him

with a right shoulder injury, a back injury, and post-traumatic stress disorder (“PTSD”). Ex.

D. He was referred to a psychiatrist who confirmed the PTSD diagnosis on May 11, 2010.

Ex. E. On June 23, 2010, an orthopedic surgeon confirmed Johnson sustained a shoulder and

back injury. Ex. F.

       In some of Johnson’s medical records, he told the doctors he was “dazed” by the

explosions, but did not lose consciousness. In others, the doctors reported that he did

temporarily lose consciousness. There are also discrepancies over how many feet Johnson

was from the wall he was knocked into. These discrepancies form the basis of BP’s and

Tidewater’s “fraud” allegations.

       Normally, a defendant would use these discrepancies to try to impeach a plaintiff at

trial. Depending on whether the impeachment material was as strong as the defendant

thought, a jury may latch onto the inconsistencies or may decide that the defense lawyer is

simply grasping at straws. This uncertainty is why parties often compromise and settle

personal injury cases before they reach trial. This case is no different. It is not fraud.

       Moreover, after Johnson filed suit, he regularly produced his medical records to BP,

the GCCF, and Tidewater. Ex. T (examples of cover letters transmitting medical records).

All of the (minor) inconsistencies that form the basis of BP’s “fraud” defense were evident to

anyone reviewing those medical records. Yet, these inconsistencies did not: (1) stop the

GCCF from making its settlement offer; (2) did not prompt BP to appeal the settlement
                                                24
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despite Tidewater’s repeated requests; and (3) did not stop Tidewater from paying

maintenance and cure benefits for Johnson’s supposedly overstated injuries.                                It is

incomprehensible that BP is now attempting to claim that Johnson fraudulently induced it

into a settlement agreement based on inconsistencies in medical records that BP, the GCCF,

and Tidewater all possessed months before the settlement offer was made.

         The truth is Tidewater raised “fraud” as a mere afterthought when it feared that its

first two indemnity defenses might be unsuccessful.16 Tidewater did this in hopes of blowing

up the settlement so Johnson would hopefully settle for a lesser amount, and thereby, reduce

Tidewater’s indemnity exposure/liability.               Now, BP has disingenuously latched onto

Tidewater’s argument to muddy the waters in this simple breach of contract case. The Court

should reject BP’s ploy and enforce the contract as written.

                                                      III.

                                                 Conclusion

         The Court should deny BP’s motion and grant Plaintiff’s motion.




16
  Tidewater’s original defenses were: (1) no indemnity was owed because Tidewater was not allowed “to participate
in the claims process.”; and (2) its indemnity agreement with BP does not require Tidewater to indemnify BP for
“claims based on the gross negligence of BP,” and the “settlement is so high because the GCCF has taken both gross
negligence and punitive damages into account.” Ex. M.

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                                           Respectfully submitted,

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                                   Certificate of Service

       I hereby certify that a true and correct copy of the above and foregoing instrument has
been forwarded to all known counsel of record by CM/ECF and/or another means in
accordance with the Federal Rules of Procedure on this 25th day of October, 2013.

                                           /s/ Kurt B Arnold
                                           _______________________
                                           Kurt B. Arnold




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